Case 12-15822-ref       Doc 51     Filed 09/15/16 Entered 09/15/16 10:10:41             Desc Main
                                   Document      Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                :
                                                      :      CHAPTER 7
                                                      :
Laura Waldman,                                       :       BANKR. NO. 12-15822 (JKF)
                                                      :
                                                     :

         ACTING UNITED STATES TRUSTEE'S MOTION TO REOPEN CASE

               The Acting United States trustee for Region 3, in furtherance of the administrative

responsibilities imposed pursuant to 28 U.S.C. Sec. 586(a), by and through the undersigned

counsel, hereby moves pursuant to 11 U.S.C. Section 350(b) and Fed.R.Bankr.P. 5010 to reopen

this case for the purpose of appointing a trustee to administer newly discovered assets for the

benefit of creditors. In support of his motion, the Acting U. S. trustee represents as follows:

               1.      The Debtor commenced this case on June 15, 2012, by filing a voluntary

petition under Chapter 7 of the United States Bankruptcy Code.

               2.      On or about June 18, 2012, the U. S. trustee appointed Christine C.

Shubert as the chapter 7 trustee (the “Trustee”).

               3.      On or about August 18, 2012, the Trustee filed a Report of No

Distribution evidencing his/her determination there were no assets to administer.

               4.      The Debtor subsequently received her discharge and the case was closed

on October 4, 2012.

               5.      The U. S. trustee was recently contacted regarding the entry of a large

judgement in favor of the Debtor from an action which accrued pre-petition.

               6.      The U. S. trustee requests that this case be reopened to appoint a trustee to

investigate whether the above referenced action is a viable asset of the bankruptcy estate and
Case 12-15822-ref       Doc 51     Filed 09/15/16 Entered 09/15/16 10:10:41             Desc Main
                                   Document      Page 2 of 2


whether it should be administered for the benefit of the Debtor’s creditors.

               For the reasons set forth above, among others, the U. S. trustee respectfully

requests that the Court conduct a hearing on the above issues and enter an order reopening this

case. The U. S. trustee specifically reserves the right to supplement his motion at or prior to the

hearing thereon.

               DATED this 15th day of September, 2016.

                                                      ANDREW R. VARA
                                                      Acting United States trustee


                                                      By: /s/ George M. Conway
                                                         George M. Conway
                                                         833 Chestnut Street, Suite 500
                                                         Philadelphia, Pennsylvania 19107
                                                         (215) 597-4411
                                                         (215) 597-5795 (fax)
